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                     3
                     4Entered on Docket
               5November 15, 2023
            __________________________________________________________________
                     6   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797
                     7   Estes Law, P.C.
                         605 Forest Street
                     8   Reno, Nevada 89509
                         Telephone (775) 321-1333
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                         Email: hestes@esteslawpc.com
                 10      Counsel for Chapter 7 Trustee
                 11
                                                              UNITED STATES BANKRUPTCY COURT
                 12
                                                                               DISTRICT OF NEVADA
                 13
                 14                                                                        —ooOoo—
                 15
                         In Re:                                                                            Case No. 22-50366-hlb
                 16                                                                                        Chapter 7
                 17
                                                                                                           ORDER GRANTING CHAPTER 7
                 18                                                                                        TRUSTEE’S MOTION TO ENLARGE
                         SCOTT A. CORRIDAN,                                                                TIME PERIOD FOR CHAPTER 7
                 19                                                                                        TRUSTEE AND U.S. TRUSTEE TO
                                                                                                           FILE A COMPLAINT TO DENY
                 20                                                                                        DISCHARGE UNDER 11 U.S.C. §727
                                                                                                           TO DECEMBER 4, 2023
                 21                             Debtor.
                                                                                                           Hearing Date: November 7, 2023
                 22      ________________________________/                                                 Hearing Time: 2:00 p.m.
                 23                 The Motion to Enlarge Time Period for Chapter 7 Trustee and U.S. Trustee to File
                 24      a Complaint to Deny Discharge Under 11 U.S.C. §727 to December 4, 2023 (the
                 25      “Motion”) came on for hearing on November 7, 2023 at 2:00 p.m. after proper notice. No
                 26      oppositions or other responses to the Motion were filed. Appearances were noted on the
                 27      record. The Court having reviewed the Motion, considered the arguments presented at
                 28      the hearing and for the reasons recited on the record and good cause appearing,
ESTES LAW, P.C.
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                     1              IT IS HEREBY ORDERED that the Motion is GRANTED; and
                     2              IT IS HEREBY FURTHER ORDERED that the deadline for the Chapter 7 Trustee
                     3   and United States Trustee to file a complaint objecting to the Debtor’s discharge pursuant
                     4   to 11 U.S.C. §727 is extended to and including December 4, 2023.
                     5   PREPARED AND SUBMITTED BY:
                     6   ESTES LAW, P.C.
                     7
                     8   By:            /s/ Holly E. Estes
                     9        HOLLY E. ESTES, ESQ.
                 10           Attorney for Chapter 7 Trustee
                 11
                 12
                 13                 In accordance with LR 9021, an attorney submitting this document certifies as
                 14      follows (check one):
                 15      _X__ The court has waived the requirement set forth in LR 9021(b)(1).
                 16      ___ No party appeared at the hearing or filed an objection to the motion.
                 17      ___ I have delivered a copy of this proposed order to all attorneys who appeared at the
                 18      hearing, and each has approved or disapproved the order, or failed to respond, as
                 19      indicated below [list each party and whether the party has approved, disapproved, or
                 20      failed to respond to the document]:
                 21      ___ I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                 22      order with the motion pursuant to LR 9014(g), and that no party has objected to the form
                 23      or content of the order.
                 24
                 25                                                                              ###
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                 27
                 28
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